
344 N.W.2d 489 (1984)
Steven D. ANDERSON and Linda E. Anderson, Plaintiffs and Appellees,
v.
STATE of North Dakota, doing business as The Bank of North Dakota, Defendant and Appellant.
Civ. No. 10509.
Supreme Court of North Dakota.
February 23, 1984.
A.F. Arnason and Joel F. Arnason (argued), Grand Forks, for plaintiffs and appellees.
Thomas B. Tudor, Asst. Atty. Gen., Bank of North Dakota, Bismarck, for defendant and appellant.
PER CURIAM.
The State, doing business as the Bank of North Dakota, has appealed from a judgment that only partially disposes of an action in which "more than one claim for relief is presented." Rule 54(b), N.D.R. Civ.P.
Because the requirement of Rule 54(b) that "the court may direct the entry of a *490 final judgment as to one or more but fewer than all of the claims or parties only upon an express determination that there is no just reason for delay and upon an express direction for the entry of judgment" has not been met, the judgment is not final, but "is subject to revision at any time before the entry of judgment adjudicating all the claims and the rights and liabilities of all the parties." The partial disposition embodied in the judgment appealed from therefore is not ripe for review. Striegel v. Dakota Hills, Inc., 343 N.W.2d 785 (N.D.1984).
The appeal is dismissed.
ERICKSTAD, C.J., and VANDE WALLE, PEDERSON, GIERKE and SAND, JJ., concur.
